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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


    LINDA FARHAT,

          Plaintiff,

    v.                                               CASE NO. 8:21-cv-1319-SDM-JSS

    UNIQUE HEALTHCARE
    SYSTEMS, LLC,

          Defendant.
    ___________________________________/


                                            ORDER

          In this putative TCPA class action, Linda Farhat claims (Doc. 1) that within

    four weeks her healthcare provider, AFC Urgent Care, sent four text messages about

    “free” COVID-19 testing at AFC’s locations. The messages informed Farhat that

    responding “STOP” would cease future messages, but AFC continued to send

    messages to Farhat after she responded “STOP.”

          Moving to dismiss, AFC relies primarily on a March 2020 declaratory ruling,

    DA 20-318, in which the FCC interprets the “emergency purposes” exception under

    47 U.S.C. § 227(b)(1), to include a call or text by a hospital, healthcare provider, or a

    government official transmitting content that is “solely informational, made

    necessary because of the COVID-19 outbreak, and directly related to the imminent

    health or safety risk arising out of the COVID-19 outbreak.” DA 20-318 at 1–2.

    Citing the March 2020 ruling’s determination that a call or text about “medically
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    administered testing information” falls within the “emergency purposes” exception,

    AFC contends that the text message about free COVID-19 testing “can never serve

    as the basis [for] a violation of Federal law.” (Doc. 13 at 9) Opposing dismissal,

    Farhat argues that, because she instructed AFC to “STOP” sending messages, AFC’s

    text messages to her (and to others comprising the putative “do not call class”) are

    neither “necessary” nor serve an “emergency purpose.”

          Laccinole v. Appriss, Inc., 453 F. Supp. 3d 499, 504 n.4 (D.R.I. 2020) (Smith, J.);

    Coleman v. Rite Aid of Ga., Inc., 284 F. Supp. 3d 1343, 1346–47 (N.D. Ga. 2018)

    (Batten, J.); and St. Clair v. CVS Pharmacy, Inc., 222 F. Supp. 3d 779 (N.D. Cal. 2016)

    (Chhabria, J.) reason persuasively that a defendant cannot invoke the “emergency

    purposes” exception if the defendant continues to send messages after the plaintiff

    has instructed the defendant to stop. Permitting a defendant to invoke the

    “emergency purposes” exception to ceaselessly text a cellular telephone subscriber

    who has instructed the defendant to stop would insulate from liability a defendant

    who engages in the exact conduct — the transmission of unwanted text messages

    and calls — that the TCPA endeavors to eliminate.

          Also, AFC cites Salcedo v. Hanna, 936 F.3d 1162, 1172 (11th Cir. 2019), and

    argues that a single text message cannot confer standing under Article III. Although

    a single text message cannot confer standing, four text messages sent in

    contravention of an instruction to “STOP” plausibly confer standing and certainly

    warrant an opportunity to develop the record. See, e.g., Teblum v. Physician

    Compassionate Care LLC, 2020 WL 10502588 (M.D. Fla. 2020) (McCoy, M.J.).

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          Finally, AFC argues that Farhat consented in writing to receiving text

    messages. But Farhat plausibly alleges that she revoked consent by instructing AFC

    to “STOP” sending messages. See, e.g., Legg v. Voice Media Group, Inc., 990 F. Supp.

    2d 1351, 1354–55 (S.D. Fla. 2014) (Cohn, J.) (finding that the plaintiff revoked

    consent by responding “STOP ALL” to the defendant’s text message).

          The motion (Doc. 18) to dismiss is DENIED. * Not later than JANUARY 24,

    2022, the parties must submit a revised case management report.

          ORDERED in Tampa, Florida, on January 11, 2022.




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              Of course, the defendant may renew these arguments on summary judgment.
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